9 F.3d 1544
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Eddy Lee HARRISON, Defendant-Appellant.
    No. 93-6613.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 15, 1993.
    Decided Nov. 26, 1993.
    
      Appeal from the United States District Court for the Southern District of West Virginia, at Charleston, No. CR-89-118, CA-92-1146;  Charles H. Haden, II, Chief District Judge.
      Eddy Lee Harrison, pro se.
      Hunter P. Smith, Jr., Asst. U.S. Atty., Charleston, WV, for plaintiff-appellee.
      S.D.W.Va.
      AFFIRMED.
      Before PHILLIPS and LUTTIG, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. § 2255 (1988) motion.   Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   United States v. Harrison, Nos.  CR-89-118;  CA-92-1146 (S.D.W.Va. May 21, 1993).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    